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                     United States District Court
                                Southern District of Georgia


     ________________________                    Case No. ________________________
              Plaintiff

v.                                               Appearing on behalf of

     ________________________                         _________________________________
             Defendant                                        (Plaintiff/Defendant)


                                  ORDER OF ADMISSION
        It appearing to the Court that the requirements stated in LR 83.4 for admission
        pro hac vice have been satisfied, Petitioner’s request to appear pro hac vice in
        the United States District Court for the Southern District of Georgia in the
        subject case is GRANTED.

        This _______ day of _______________ , ______ .



                                                   _____________________________
                                                 UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                             *****
                                     Jake Knanishu
      NAME OF PETITIONER:            ______________________________________________________

                                     Radford & Keebaugh, LLC
            Business Address:        ______________________________________________________
                                                         Firm/Business Name
                                     315 W Ponce de Leon Ave
                                     ______________________________________________________
                                                           Street Address
                                                              Decatur       GA    30030
                                     _____________________ ______________________ ________
                                       Street Address (con’t)     City     State     Zip

                                     ______________________________________________________
                                              Mailing Address (if other than street address)

                                     _____________________ ______________________ ________
                                        Address Line 2        City       State       Zip

                                     __________________________________ ___________________
                                      Telephone Number (w/ area code)    Georgia Bar Number

              Email Address:          jake@decaturlegal.com
                                     ______________________________________________________
